39 F.3d 1178
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.George Lloyd PREGENT, Plaintiff Appellant,v.Ron JONES, Superintendent;  Glenn Epley, Food ServiceSupervisor, Defendants Appellees.
    No. 94-6771.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 18, 1994Decided Nov. 14, 1994.
    
      Appeal from the United States District Court for the Middle District of North Carolina, at Salisbury.  William L. Osteen, Sr., District Judge.  (CA-93-324)
      George Lloyd Pregent, Appellant Pro Se.  Jacob Leonard Safron, Special Deputy Attorney General, Raleigh, North Carolina, for Appellees.
      M.D.N.C.
      AFFIRMED.
      Before HALL and MICHAEL, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Pregent v. Jones, No. CA-93-324 (M.D.N.C. June 7, 1994.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    